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3" :
ot .
REPRODUCE LOCALLY. Include form number and dale on all raproducilons. 8. KIND OF LOAN
FSA-1940-17 US. DEPARTMENT OF AGRICULTURE 0
(40-26-99) Farm Service Agency Type: Le CI Regular
PROMISSORY NOTE BE] Limited Resource
4 Pursuant ta:
1. Name . ‘ C_] Conrolideted Farm & Rural Development Act
CARLOS ALBERTO GONZALEZ RIVERA
2 Slala 3. County | | Emergency Agricultural Credit Adjustment Act of 1978
PUERTO RICO UTUVUABO §. ACTION REQUIRING NOTE
4, Case Number 5. Dale . Tnitial loan Rescheduling
3-15- -0072 ' May 21, 2001 Subsequent loon Reamortization
6. Fund Code 7. Loan Number Consolidated & Credit sale
had of b 4 subsequent loan
Consolidation Deferred payments
Conservation easement Debt write down

FOR VALUE RECEIVED, the understgned Borrower dnd any cosigners jointly and severally promise to pay to the order of the United Stales
of America, acting through the Farm,Service Agency, Unit d States Department of Agriculture, (herein called the “Government”), or its
assigns, at ils office in vEtido ’ er to Re co. =

_ or at such other place as (he Government may later designate in weting, the principal sum of |

Three thousand nine hundred twenty four dollars and thirty cents dollars

($3,924.30)

}, plus Interest on the unpaid principal balance at the RATE of

: . percent ( 53,00 %) per annum and
N/A

dollars ($ }

of Noncapitalized interest. If this note is for a Limited Resource loan (indicated in the “Kind of Loan” box above) the Government may
CHANGE THE RATE OF INTEREST, in accordance with regulations of the Farm Service Agency, not more often than quarterly, by giving
the Borrower thirty (30) days prier written notice by mail {o the Borrower's last known address. The new interest rate shal] not exceed the
highest rate established in regulations of the Farm Service Agency for ihe type of loan indicated above,

Principal and interest shall be paid in * i5- installments as indicated below, except as modified by a different rate of
interest, on or before the following dates:
$379.00. on 1/1102 ,9379.00 on___1/1/03
5s 379.00 . on_1/1/04 .3$ 379 on PLL /05 3
$_- N/A ee, ake 5 N/A on :
3 N/A on is N/A om ;
§ N/A on 35. W/A on :
5. N/A on is N/A on i
and $379.00 ____ thereafter on__L-1 = of each, wear until the principal and ,
interest are fully paid excepl thal the final installment of the entire debtcdness evidenced hereby, iF not sooner paid, shall be due and payable
Fifteen years from the date of this note, and except that prepayments may be made as provided below. The consideration for

this note shall also support any agreement modifying the foregoing schedule of payments.

Tf the totel amount of the loan is not advanced at the time.of loan closing, the loan funds shell be advanced to ihe Borrower as refuested by
Borrower and approved by the Government. Approval by the Government will be given provided the advance |s requested for a purpose
authorized by the Government, Interest shall accrue on the amount of ench advance from its actual date as shown in the Record of Advances at
Ihe end of this note. Borrower authorized the Government {9 enter the emount(s) and date(s) of such advance(s) in the Record of Advances.

Position 2

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For each rescheduled, reamortized or consolidated note for applications for Primary and Preservation Loan Service Programs received prior
to November 28, 1990, interest accrued to the date of this instrument which is more than 90 days overdue shell be added to principal and such
new principal shall accrue Interest at the rate evidenced by this instrument. For spplications for Primary and Preservation Loan Service

Programs received on or afier November 28, 1990, ali unpaid interest accrued to the date of this instrument shall be added to the principal and
such new principal shall accrue interest at the rate evidenced by this instrument.

Every payment made on any indebtedness aviderved by this note shall be applied first to a portion of any interest which accrues during the

deferral peridd, second to accrued interest to the date of the payment on Lhe note sccount and then to the principal. Nonprogram loans are not
eligible for deferral.

Prepayinents of scheduled installments, or any portion of these installments, may be made al any time at the option of the Borrower.
Refunds and extra payments, es defined in the regulations (7 CFR § 1951.8) of the Farm Service Agency according to the source of funds

involved, shall, after payment of interest, be applied to the last installments to become due under this note and shall not affect the obligation of
Borrower to pay the remaining installments as scheduled in this note. :

If the Government at any Hime assigns this note and insures the payment of it, Borrower shall continue to make payments to the Government
es collection agent for the holder, While this note is held by an insured holder, prepayments made by Borrower may, at the option of ihe
Government, be remitted by the Government to the holder promptly or, except for final payment, be relained by the Government and remitted to
the holder on an installment due date basis. The effective date of every payment made by Borrower, except payments retained and remitted by

the Government on an installment due date basis, shal! be the date of the United States Treasury check by which the Government remits the

payinent to the holder. ‘The effective date of any prepayment retained and remitted by the Government to the holder on an installment due date
basis shail be the date of the prepayment by Borrower,

and the Government will pay the interest to which the holder is entitled accruing
between such date and the date of the Treasury check to the holder,

Any amount advanced or expended by the Government for the collection of this sote or 1o preserve or protect any security for the loan or
otherwise expended under the terms of any security agreement or other instrument executed in connection with the loan evidenced by this note,
ai the option of the Goverament shall become a part of and bear interest at the same rate as the principal of the debt evidenced by this note and
be immediately due and payable by Borrower to the Government without demand.

Property constructed, improved, purchased, or refinanced in whole or in part with the loan evidenced by this note shall not be leased,
assigned, sold, transferred, or encumbered, voluntarily or otherwise, without the written consent of the Government. Uniess the Government
consents olherwise in writing, Borrower will operate such property as a farm if this is a Farm Ownership loan,

If “Consolidation and subsequent lean," “Debt write down,” “Consolidation,” “Rescheduling,” or “Reamortization” is indicated in the
“action Requiring Note” block in Item 9 above, this note is given to consolidate, reschedule or reamortize, but not in satisfaction of the unpaid
principal and interest on the following described note(s} or assumption sgreement(s) (new terms):

FUND CODES INTEREST DATE ; LAST INSTALL DUE
LOANNO, | FACE AMOUNT RATE (inchs year) ORIGINAL BORROWER fincheda year)

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Security instruments taken in connection with the loans ovidenced by these described notes and other related obligations are not affected by
this consolidating, rescheduling or reamoctizing. These scourity instruments shall continue to remain in effect and the security given for the

loans evidenced by the deseribed notes shall continue to remain as security for the loan evidenced by this note, and for any other related
obligstions.

REFINANCING (GRADUATION) AGREEMENT: If st any time it shall appear to the Government that the Borrower may be able to
obtain financing from a responsible cooperative or private credit source at reasonable rates and terms for loans for similar purposes and period
of time, Borrower will, at the Government's request, apply for and accept a loan(s) in sufficient amount to pay this note in full and, if the lender

is B cooperative, lo pay for any necessary stock, The provisions of this paragraph do not apply if the loan represented by this promissory note
was made to the Borrower as a non-program loan. .

The U5, Deparinant of Agrcuture (SOA) peohibits Gonnihalor oak Ae programs and ecivides on tis bess Once, cole, mavens ongin, gender relavon, apa, disability, politica? balers,

serual ofentator, and martial or lemily atetut, {Mot al prohitvied bases apply ta al programe.) Parsons with wirabites eho require aNemative means fot communication of program deformation
(Brae, ferpe print, aucfolaps, alc.) thould cantact USDA's TARGET Center al (202) 72-2600 (voice and TOD). Yo tie « complaint of disedimination, wile USDA, Director, Office of Civil Righiz.
Room 320, Whiten Bulkting, 400 indepenceoce Averue, SY, Washington, B.C, 20250-9410 or call (202) 70-5064 fence or TOD), USDA is an equal exp ty provider and

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HIGHLY ERODIBLE LAND AND WETLAND CONSERVATION AGREEMENT: Borrower recognizes that the Joan described in
this note will be in default should any loan proceeds be used for a purpose that will contri

bute to excessive erosion of highly erodible land or to
the conversion of wetlands to produce an agricultural commodity as further explained in 7

CFR Part 1940, Subpart G, Exhibit M. If (1) the
term of the loan exceeds January 1, 1990, but not January 1, 1995, and (2) Borrower intends to produce an agricultural commodity on highly
crodible land that is exempt from the restrictions of Exhibit M until either January £, 1990, or two years after the Natural Resources

Conservation Service (NRCS) has completed a soit survey for the Borrower's land, whichever is ater, the Borrower further agrees that, priar to
the loss of the exemption from the highly erodible Iand conservation restrictions found in 7 CFR Part 12, Borrower must demonstrate that
Borrower is actively applying on ‘that land which has been determined to be highly erodible, a conservation plan approved by the NRCS or the
appropriate conservation district in accordance with NRCS's requirements. Furthermore, if the term of the foan exceeds January 1, 1995,

Borrower further agrees that Borrower must demonstrate prior to January 1, 1995, that any production of an agricultural commodity on highly
erodible land after that date will be done in compliance with a conservation system approved by NRCS or the appropriate conservation district
in accordance with NRCS's requirements. :

DEFAULT: Failure to pay when due any debt evidenced by this note or perform any covenant of agreement under this note shall constitute
default under this and any other instrument evidencing s debt of Borrower owing to, insured or Guaranteed by the Government of securing of
otherwise relating to such debt; and default under any such other instrument shall constitute default under this note. UPON ANY SUCH
DEFAULT, the Government at ils option may declare all or any part of any such indebtedness immediately duc and payable.

This Note is given as evidence of a loan to Borrower made or insured by the Government pursuant to the Consolidated Farm and Rural
Development Act, or the Emergency Agricultural Credit Adjustment Act of 1978 and for the type of loan as indicated in the “Kind of Loan”

block above, ‘This Note shall be subject to the present regulations of the Farm Service Agency and to tts future regulations not inconsistent with
the express provisions of this note.

Presentment, protest, and notice ate waived.

(SEAL)

C OS ALBERTO!.GONZ
Auegon Lh AHA a
VANESSA BERMUDEZ CORDERO

P.O. Box 2051, Utuado PR 00641

RIVERA {Borrower)

RECORD OF ADVANCES
AMOUNT DATE AMOUNT DATE AMOUNT ° DATE
i $ $
. $ $
5 $
B $ $
. TOTAL [5

